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m THE UNITED sTArEs DISTRICT COURT ~ - ».».i,.
FoR THE WESTERN DISTRICT oF TENNESSEEUE lt:€;l' 1 3 pp 3_ b

WESTERN DIVIsIoN ' 1 - .5

 

 

UNITED STATES OF AMERICA,

Plaintiff,
VS. NO. 04-20371-Ma
TERRANCE DAVIS,

Defendant.

 

ORDER RESETTING CHANGE OF PLEA HEARING AND EXCLUDING TIME

 

Before the court is the government’s May 12, 2005 motion to reset a change of plea
hearing Which is currently set for May 19, 2005. For good cause shown, the Court grants the
motion and continues the trial date to the July 5, 2005 rotation docket With a report / change of
plea date ofFriday, June 24, 2005, at 1:30 p.m.

The period from May 19, 2005, through July 15, 2005, is excludable under 18 U.S.C. §§
3l6l(h)(8)(B)(iv) and 3161(h)(8)(A)(iv) because the interests of justice in allowing for continuity of
government counsel and to allow counsel additional time to prepare outweigh the need for a speedy
trial.

ii is 50 0RDERED this l3‘"`day OfMay, 2205.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT IUDGE

 

Thls doctmant entered on the docket heat ln omp!lance
with R\:|a 55 andlor 32rb) FHCrP on ___L§._Q§_' '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 54 in
case 2:04-CR-20371 Was distributed by faX, mail, or direct printing on
May 19, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

